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                                                                              6


                                                                                          May 13, 2021
                             UN ITED STAT ES D ISTR ICT C O U RT
                             SO UTH ERN D ISTR ICT O F FLO RIDA
                 21-14020-CR-CANNON/MAYNARD
                              CA SE N O .
                                             26U.S.C.j720642)
  U NITED STA TE S O F A M ER ICA

  V S.

  BENN Y A G UILA R ,

                         D efendant.
                                                     /

                                             IN D ICTM EN T

         The G rand Jury chargesthat:

                                   G 'INVIIAL ALLEG ATIONN
         A talltim esrelevantto this Indictm ent:

                D efendantBEN N Y A GU ILA R resided in Lake Placid,Highlands County,Florida,

  w ithin the Southern D istrictofFlorida.

                Beginning in oraround July 2012 and continuing through in oraround D ecem ber

  2019,defendant BEN N Y A G U ILAR owned,operated,and was otherw ise em ployed by EIB& A

  Services,''a tax return preparation business located in Lake Placid,H ighlands County,Florida,

  w ithin the Southelm D istrictofFlorida.

                The lnternal Revenue Service ((tlRS'') was an agency of the United States
  D epartm ent of Treasury responsible for enforcing and adm inistering the tax law s of the U nited

  Statesand collecting taxesow ed to the U nited States.

         4.     Individuals reported their incom e,and any attendant tax obligations, on Fonns

  1040,w hich were filed alm ually w ith the IR S.

                From on oraboutJuly 10,2012,through the date ofthisindictm ent,atthisbusiness,
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  defendantBEN N Y A GU ILA R m etw ith taxpayers and prepared tax returns asan ow ner,operator

  and employeeofIûBtQ;A Services,''and usedtheElectronicFilingldentification NumberIEFINI
  assignedtothebusinessandthePreparerTaxldentificationNumber(PTIN)assignedto him or
  thePTIN assignedtoanotherpersonknowntothegrandjury.
         6.      The Residential Energy Credit allow s for a credit equal to 30 percent of the

  qualified expensesm ade by a taxpayer forthe taxpayer's principalresidence during the tax year.

  Qualifying properties include solar electric property,solarwaterheaters,smallwind energy
  property and geothenualheatpum ps,and fuelcellproperty. The ResidentialEnergy Creditlowers

  a taxpayers'tax liability.

                 FederalIncom e Tax W ithholding isthe portion ofan em ployee'sw agesthatisnot

  included in the em ployee's paycheck but is instead rem itted directly to the IRS.W ithholding

  reduces the am ount of tax the em ployee m ust pay when the em ployee subm its the em ployee's

  annualtax return. Credits and deductions m ay outweigh the tax paid by the em ployee,resulting

  in a refund.

                                            C O U NT S 1-22
                               A iding the Filing ofFalse Tax R eturns
                                          (26U.S.C.j720642))
                 The G eneral Allegations of this Indictm ent are realleged and incorporated by

  reference asif fully setforth herein.

                 On or aboutthe dates specified,in H ighlands County,w ithin the Southern D istrict

  ofFlorida,and elsew here,the defendant,

                                          BEN NY A G U ILAR ,

  did w illfully aid and assistin,and procure,counsel,and advise the preparation and presentation to

  thelnternalRevenueService,ofaUnitedStateslndividuallncomeTaxRetunzs(IRSFonus1040)
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  eitherindividualorjoint,forthetaxpayerandtaxyearspecified ineachcountbelow.Thereturn
  was false and fraudulentas to a materialmatter,in thatthe return falsely represented thatthe

  taxpayerw as entitled,under the provisions ofthe InternalRevenue law s,to receive the creditor

  had nothad the am ountof tax w ithheld as specified below ,whereas,as the defendant then and

  there w ellknew ,the taxpayer wasnotentitled to receive the creditorhad not had the am ountof

  tax w ithheld asspecified below :

   C          DATE OF       m               T AX
       OUNT   n             T AXPAYER       -       FALSE AND FRAUDULENT REPRESENTATION
              U FFENSE                      Y EAR
                                                          DO LLAR FIGURE APPROX IM ATE
              2/5/2015    IR .and M .R . 2014
                           .                         F ResidentialEnergy Creditof$1,586
                                                      ederallncome Tax W ithholding of$5,660
              2/5/2016    IR .and M .R . 2015
                           .                         F ResidentialEnergy Creditof$2,078
                                                      ederallncome Tax W ithholding of$5,259
              2/10/2017 IR .and M .R . 2016
                           .                         F ResidentialEnergy Creditof$3,123
                                                      ederalIncome Tax W ithholding of$6,596
       4      2/11/2018 I.R.and M .R. 2017              ResidentialEnergy Creditof$3,652
       5      2/04/2019 I.R.and M .R. 2018               ResidentialEnergy Creditof$3,525
              2/11/2015 G                                ResidentialEnergy Creditof$3,359
                            .  O .and A .T. 2014     F
                                                      ederallncomeTax W ithholding of$10,224
              3/08/2016 G O .and A .T. 2015
                            .                        F ResidentialEnergy Creditof$4,507
                                                       ederallncomeTax W ithholding of$7,462
       8      3/09/2017 G O .and A .T. 2016
                            .                        F ResidentialEnergy Creditof$4,325
                                                       ederallncome Tax W ithholding of$8,678
       9      3/02/2018 G.O.and A.T. 2017                ResidentialEner Creditof$6,525
       10     2/22/2019 G.O.alld A.T. 2018               ResidentialEner Creditof$4,525
              2/01/2015 M A .and M .C . 2014
                            .                        F ResidentialEnergy Creditof$1,893
                                                       ederalIncome Tax W ithholdin of$7,167
       12     2/15/2016 M .A .and M .C. 2015         FederalIncome Tax W ithholdin of$9,954
              3/03/2017 M A .and M .C. 2016
                            .                       F ResidentialEnergy Creditof$2,288
                                                     ederallncome Tax W ithholdin of$11,157
       14     2/16/2018   M .A .and M .C.   2017         ResidentialEnergy Creditof$5,866
       15     2/28/2019   M .A .and M .C.   2018         ResidentialEnergy Creditof$4,525
       16     4/13/2017   R.M .andM .M .    2016         ResidentialEnergy Creditof$3,644
       17     3/13/2018   R.M .and M .M .   2017         ResidentialEnergy Creditof$4,525
       18     2/07/2019   R.M .and M .M .   2018         ResidentialEnergy Creditof$2,525
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   C        DATE OF        m             TAX
       OUNT O              TAXPAYER                 FALSE AND FRAUDULENT REPRESENTATION
              FFENSE                     YEAR
                                                         DO LLAR FIGURE APPROXIM ATE

               3/16/2016 S A .and M .A . 2015
                           .                        F ResidentialEnergy Creditof$2,339
                                                     ederallncomeTax W ithholding of$7,056
       20      1/28/2017 S A .and M .A . 2016
                           .                        F ResidentialEnergy Creditof$1,646
                                                     ederallncom eTax W ithholdin of$7,962
       21      3/02/2018 S.A.and M .A . 2017           ResidentialEnergy Creditof$2,825
       22     2/04/2019 S.A.and M .A . 2018            ResidentialEnergy Creditof$1,525

            AllinviolationofTitle26,United StatesCode,Section7206(2).


                                                     A TRU E BILL




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                              UNITEDSTATESDISTRICTCOURT
                             SOUTHERN DISTRICT OFFLORIDA

    UM TED STATESO F AM E W CA                        CASE NO .
    V.
    BENNYAGUILAR,
                                                      C ERTIFICATE OF TR IAL ATTOR NEYA
                                                      Superseding CaseInformation:
                 Defendant.                   /

     CourtDivisionrtselectone)                        Newdefenclantts) r-1Yes I--INo
     N Miami I
             - IKeyWest N FTL                         Numberofnewdefendants
     N WPB EZ FTP                                     Totalnumberofcolmts
          1.Ihavecarefully considered theallegationsoftheindictm ent, thenum berofdefendants,thenum berofproh ble
            witnessesand the legalcomplexitiesofthelndictment/lnformation attachedhereto.
            1am awarethattheinformation suppliedonthisstatem entwillberelied uponbytheJudgesofthisCourtin
            setting theircalendarsandscheduling crim inaltrialsunderthemandateoftheSpeedy TrialAct,
            Title28 U.S.C.Section 316l.
            lnterpreter:(YesorNo)NO
            Listlanguageand/ordialect
            Thiscase willtake 4 daysforthepartiesto try.
         5. Pleasecheck appropriatecategory andtypeofoffenselistedbelow :
                (Checkonlyone)                           (Checkonlyone)
                0to5days                Nz              Petty                 rrj
          11    6to10days               E1              Minor                 E71
          lll   11to20days              EqI             Misdemeanor           E1
          IV    21to60days              (71             Felony                lz
          V     61daysandover           E7
            HasthiscasepreviouslybeenfiledinthisDistrictCourt? (YesorNo) No
            lfyes:Judge                              CaseNo.
            (Attachcopyofdispositiveorder)
            Hasacomplaintbeenfiledinthismatter? (YesorNo)No
            lfyes:M agistrateCase No.
            Relatedm iscellaneousnum bers:
            Defendantts)infederalcustodyasof
            Defendantls)instatecustodyasof
            Rule20 from theDistrictof
            lsthisapotentialdeathpenaltycase?(YesorNo) No
            Doesthiscase originatefrom amatterpendingin theCentralRegion oftheU .S.Attorney'sOffice priorto
            August9,2013(M ag.JudgeAlicia0.Valle)?(YesorNo) No
         8. Doesthiscase originatefrom am atterpending intheN orthernRegionoftheU .S.Attorney'sOfficepriorto
            August8,2014(M ag.JudgeShaniekM aynard?(YesorNo) No
            Doesthiscase originatefrom am atterpending intheCentralRegion oftheU .S.Attorney'
                                                                                            sOfficepriorto
            October3,2019(Mag.JudgeJaredStrauss)?(YesorNo) No


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                                                                                          x.           -% <
                                                                   D IA NA M .AC O STA
                                                                   AssistantUnited States Attorney
                                                                   FLA BarNo.       775185
*PenaltySheetts)atlachi                                                                              REV 3/19/21
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                        U NITED STA TES D ISTRICT CO URT
                        SO U TH ER N D ISTR IC T O F FL O R ID A

                                   PEN A LT Y SH E ET

                            C A SE N O .

   D efendant'sN am e: BENN Y A G UILA R


COUNT          VIOLATION                   U.S.CODE                M AX.PENALTY

 1-22   Aiding orassisting in the preparation 26U.S.C.j720642)   3years'imprisonment'
                                                                                    ,
        offalsedocuments(taxreturns)under                        $100,000fine;
        lnternalRevenueLaws                                      SR:1yearj
                                                                 $100 SpeclalAssessment
